Case 2:04-cr-20392-SH|\/| Document 81 Filed 05/12/05 Page 1 of 3 Page|D 104

IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE chfv

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WITED STATES OF AMERICA

   

Plaintiff,

V. CR. NO. 04*20392-03~Ma

SHIRLEY LEWIS ,

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Shirley Lewis, having been sentenced in the above
case to the custody of the Bureau of Prisons and having been granted
leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to Federal
Correctional Institution Lexington, Satellite Camp, 3301 Leestown
Road, Lexington, Kentucky 40511, no later than 2:00 p.m., Tuesday,
May 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order
the defendant shall report immediately to the Office of the Clerk,
Federal Office Building, 167 N. Main Street, Room 242, Memphis,
Tennessee 38l03 to acknowledge by signature receipt of a copy of
this Order and that the defendant Will report as ordered to the
facility named above.

ENTERED this the li§él day of May 2005.

<WM”'/L.il_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This doct_ment entered on the docket sheet tn compttanca
with Rtlte 55 and/or 321b) FHCrP on ' '

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Case 2:04-cr-20392-SH|\/| Document 81 Filed 05/12/05 Page 2 of 3 Page|D 105

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ACK.NOWLEDGMENT

I agree to report as directed above and understand that
if I fail to reportl I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed.

ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

